LEAH BROWNLEE TAYLOR
Leah.B.Taylor@usdoj.gov
United States Department of Justice
Senior Trial Attorney
PO Box 7146
Washington, D.C. 20044
(202) 616-4325
Attorney for Greg T. Bretzing and the United States of America

                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF OREGON


    Ryan Payne and Victoria Sharp,
    Plaintiffs.

    v.
                                                   No. 2:18-cv-165-MO
    W. Joseph Astarita, individually and
    in his official capacity as an agent of
                                                   Defendant United States of America’s
    the FBI, Defendants 1X through 6x,
                                                   Motion to Dismiss Pursuant
    individually and in their official
                                                   to Fed. R. Civ. P. 12 (b)
    capacity as agents of the Oregon State
                                                   Oral Argument Requested
    Police, Greg T. Bretzing, individually
    and in his capacity as an officer of the
    FBI, Defendants 7x through 12x,
    individually and in their official
    capacity as officers of the FBI,
    Defendants.


     THE UNITED STATES OF AMERICA’S AMENDED MOTION TO DISMISS
       UNDER FEDERAL RULES OF CIVIL PROCEDURE 12(b)(1) and (6) 1

          Defendant United States of America hereby moves to dismiss the claims against it

under Federal Rule of Civil Procedure 12(b). Although the plaintiffs in this action did not

name the United States as a party, the government substituted itself as a party for

purposes of the state law claims against its employees Greg T. Bretzing and W. Joseph




1
 This motion is amended to reflect the required certificate of compliance with Local Rule
7-1 (a).
                                               1
Astarita under 28 U.S.C. § 2679(d)(1). See ECF No. 104 (Bretzing Motion to Dismiss),

Ex. J (Certification of Scope of Employment). Those state claims now must “proceed in

the same manner as any action against the United States filed pursuant to” the Federal

Tort Claims Act, 28 U.S.C. §§ 1346(b)(1); 2671-2680 (2012) (“FTCA”), “and shall be

subject to all of the limitations and exceptions applicable to those actions.” 28 U.S.C. §

2679(d)(4). As explained below two FTCA “limitations and exceptions” bar this suit

against the government. 2

       Pursuant to Local Rule 7-1 (a), counsel certifies that she conferred in good faith

with Plaintiffs’ counsel concerning this motion, but the parties were not able to reach a

resolution regarding the claims, defenses or issues that are the subject of the motion.

               FACTUAL AND PROCEDURAL BACKGROUND

       On January 26, 2018, Shawna Cox commenced this action by filing a pro se

complaint concerning a traffic stop, roadblock, and use of force on January 26, 2016 in

Oregon. See ECF No.1 (“Cox complaint”). On February 16, 2018, less than three weeks

after Cox commenced this action, she filed a motion to withdraw her pro-se complaint.

See ECF No. 9, February 12, 2018 “Motion to Withdraw Complaint.” 3 A “Corrected




2
 Plaintiffs purport to plead negligent hiring, training, and supervision, as well as assault
and battery claims. It is unclear whether Plaintiffs intend to assert additional common law
torts claims such as false arrest or abuse of process, so “state tort claims” are broadly
referenced her. See ECF No. 56 at 8, 14 (“Corrected Complaint” or “Compl.”). To the
extent claims of false arrest are abuse of process are indeed in the case, they too are
subject to dismissal for the reasons explained here.

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 On February 16, 2018, the Court construed the filing as a motion for voluntary
dismissal, stating in its Minute Order: “[u]nless Plaintiff Shawna Cox notifies the Court
with a written filing within fifteen days of the Minute Order that she does not wish to
voluntarily dismiss this action, the Court will dismiss the lawsuit.” See ECF #10,
February 16, 2018 Minute Order (emphasis added).
                                             2
Complaint,” almost identical to the Cox complaint, was filed by Ryan Payne and Victoria

Sharp as the only plaintiffs. It alleges that on January 26, 2016 Payne, Sharp, Cox, and

Ryan Bundy were passengers traveling on US Highway 395 in a Dodge pickup truck

driven by LaVoy Finicum when they were allegedly subjected to an unlawful use of force

constituting assault and battery. See ECF No. 56 (“Corrected Complaint” or “Compl.”) at

14 (unnumbered reference to assault and battery under the Federal Tort Claims Act).

Payne and Sharp also allege in Count 4 of their complaint negligent hiring, training,

supervision, and retention claims against former FBI Special Agent in Charge Greg T.

Bretzing in connection with these events. Id. at 11.

       While Payne and Sharp mentioned the Federal Tort Claims Act in their Corrected

Complaint, they did not identify the United States as a defendant in this action. See

Compl. at 1 compare with 14. Instead, they sued federal employees Bretzing and Astarita.

Id. at 1. Their state tort claims against Bretzing and Astarita purported to include claims

for negligent hiring, training, supervision, and retention claims as well as assault and

battery claims. Payne and Sharp say that at all times, Bretzing and Astarita were acting as

“agent[s] of the FBI.” Compl. at 3-5. Payne and Sharp also never presented an

administrative claim to the FBI before filing suit. The FTCA requires that. See 28 U.S.C.

§ 2675. See also Exhibit A, Crum Declaration (attached). The government’s self-

substitution does not relieve them from the FTCA’s claim presentment requirement nor

cure other problems with their FTCA case. See 28 U.S.C. § 2679(d)(4).

                       STANDARD OF REVIEW

A. Dismissal for lack of jurisdiction pursuant to Rule 12(b)(1).




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        Plaintiff has the burden to establish that the court has subject-matter jurisdiction.

Robinson v. Geithner, 359 F. App’x 726, 728 (9th Cir. 2009). See also Ass’n of Am. Med.

Coll. v. United States, 217 F.3d 770 (9th Cir. 2000). “As a sovereign, the United States

‘is immune from suit save as it consents to be sued.’” Henderson v. United States, 517

U.S. 654, 673 (1996) (quoting United States v. Sherwood, 312 U.S. 584, 586 (1941)).

Unless immunity has been waived, courts have no subject matter jurisdiction over claims

brought against the federal government or its agencies. See Fed. Deposit Ins. Corp. v.

Meyer, 510 U.S. 471, 475 (1994).

B. Dismissal for Failure to State a Claim under 12(b)(6).

        When analyzing the sufficiency of a complaint under Fed. R. Civ. P. 12(b)(6),

courts are to accept well-pleaded facts as true and draw all inferences in the plaintiff’s

favor. See Newcal Indus., Inc. v. Ikon Office Solution, 513 F.3d 1038, 1043 n.2 (9th Cir.

2008). “To avoid dismissal under Rule 12(b)(6), a plaintiff must aver in his complaint

sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its

face.” al-Kidd v. Ashcroft, 580 F.3d 949, 956 (9th Cir. 2010), (quoting Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009)(internal quotations omitted), rev’d and remanded, 563 U.S.

731 (2011). Thus, a plaintiff cannot state a claim for relief by “offer[ing] ‘labels and

conclusions’ or ‘a formulaic recitation of the elements of a cause of action.’” Iqbal, 556

U.S. at 678 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 554, 555 (2007)). Similarly,

“‘naked assertion[s]’ devoid of ‘further factual enhancement,’” as well as “unadorned,

the-defendant-unlawfully-harmed-me accusation[s],” are insufficient. Id. (quoting

Twombly, 550 U.S. at 557).

                                  ARGUMENT

   A. The Court Lacks Subject Matter Jurisdiction over Plaintiffs’ Tort Claims.
                                                4
        The FTCA provides the exclusive remedy for damages actions for “personal

injury or death arising or resulting from the negligent or wrongful act or omission of any

employee of the Government while acting within the scope of his office or employment.”

28 U.S.C. § 2679(b)(1). When tort plaintiffs ignore that and nonetheless sue the

government’s employees, the FTCA allows the government to substitute itself and assert

whatever defenses to the action it has available. See U.S.C. § 2679(d)(1) and (4). And

under 28 U.S.C. § 2675(a), the FTCA “requires, as a prerequisite for federal court

jurisdiction, that a claimant first provide written notification of the incident giving rise to

the injury, accompanied by a claim for money damages to the federal agency responsible

for the injury.” Munns v. Kerry, 782 F.3d 402, 413 (9th Cir. 2015) (citing 28 U.S.C. §

2675(a); 28 C.F.R. § 14.2(b); Johnson v. United States, 704 F.2d 1431, 1442 (9th Cir.

1983)). This claim-presentation requirement is “jurisdictional in nature and may not be

waived.” Vacek v. United States Postal Serv., 447 F.3d 1248, 1252 (9th Cir.2006). Where

plaintiffs fail to plead or provide evidence that they have exhausted their administrative

remedies under the Act, “they cannot rely on that statute’s waiver of sovereign immunity

for jurisdiction.” 28 C.F.R. § 14.2(a). Id.

        Payne and Sharp have not complied with that requirement. They fail to plead or

present evidence of a valid administrative notice of claim to the FBI, the appropriate

federal agency. See Crum Declaration. So the United States must be dismissed based on

their failure to exhaust administrative remedies. Soriano v. United States, 352 U.S. 270,

276 (1957) (stating that the “limitations and conditions upon which the Government

consents to be sued must be strictly observed and exceptions thereto are not to be

implied.”); see also United States v. Kubrick, 444 U.S. 1ll, 117-118 (1979).



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    B. Plaintiffs’ Complaint is Time Barred, Does Not Relate Back to the Original
       Complaint, and Service of Process is Insufficient and Untimely.

        Payne and Sharp’s case is in any event barred by the FTCA’s two-year statute of

limitations. The FTCA also provides:

        A tort claim against the United States shall be forever barred unless it is presented
        in writing to the appropriate Federal agency within two years after such claim
        accrues or unless action is begun within six months after the date of mailing, by
        certified or registered mail, of notice of final denial of the claim by the agency to
        which it was presented.

28 U.S.C. § 2401(b). In this case, pro-se Plaintiff Shawna Cox initiated this lawsuit by

filing an original complaint on January 26, 2018. The events that are the subject of this

lawsuit took place on January 26, 2016. The original complaint was, therefore, filed one

day before the expiration of the two year statute of limitations for claims arising out of

those events. The Cox Complaint was withdrawn on February 12, 2018. That was akin to

filing a notice of dismissal under Rule 41(a)(1) and its effect “is to leave the parties as

though no action had been brought.” Duke Energy Trading and Marketing, LLC v. Davis,

267 F.3d 1042, 1049 (9th Cir. 2001). Once a notice of dismissal is filed, the district court

loses jurisdiction over the dismissed claims and may not address the merits of such

claims or issue further orders pertaining to them.

        Because the Cox Complaint was voluntarily dismissed, nothing was left for Payne

and Sharp’s later-filed “Corrected Complaint” to relate back to under Rule 15(c). So their

“Corrected Complaint,” filed after the statute of limitations had run, is time-barred. 4 For



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  For relation back Rule 15(c) requires service of the original complaint within a ninety-
day time period prescribed by Rule 4(m) to relate back. Fed. R. Civ. P. 15(c)(1)(C). The
Cox complaint was never served and Payne and Sharp’s Corrected Complaint was not
served on Bretzing within the ninety-day time period provided by Rule 4 (m) and as
required under Rule 15(c).


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the same reason, the Westfall Act post-substitution “safe harbor” provision in 28 U.S.C. §

2679(d)(5) does not apply. Payne and Sharp did not bring their case against federal

employees Bretzing and Astarita within two years (as that provision requires in order to

allow a plaintiff to cure her failure to file an administrative claim). Moreover, Payne and

Sharp still have not served the United States, as required under Rule 4(i)(3) in order to

perfect service on Bretzing. See Bretzing Motion to Dismiss, Ex. H (Keith Ramsey

Service Declaration). So dismissal is warranted on this ground as well.

                                      CONCLUSION

       For all the aforementioned reasons United States’ motion to dismiss this action

should be granted.

                                              Respectfully submitted,

                                              JOSEPH HUNT
                                              Assistant Attorney General
                                              Civil Division

                                              C. SALVATORE D’ALESSIO, JR.
                                              Acting Director, Constitutional Tort Staff
                                              Constitutional Tort Staff
                                              Torts Branch, Civil Division

                                              RICHARD MONTAGUE
                                              Senior Trial Counsel
                                              Constitutional Tort Staff
                                              Torts Branch, Civil Division

                                              /s/ Leah Brownlee Taylor
                                              LEAH BROWNLEE TAYLOR
                                              Senior Trial Attorney
                                              Constitutional Torts Staff
                                              Torts Branch, Civil Division
                                              United States Department of Justice
                                              PO Box 7146
                                              Washington, D.C. 20044
                                              Leah.B.Taylor@usdoj.gov



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                                                Attorney for Defendants
                                                United States of America and Greg Bretzing

                             CERTIFICATE OF SERVICE

       I hereby certify that on May 13, 2019, I filed the foregoing motion through the

CM/ECF system, causing the following individuals to be served by electronic means, as

reflected in the Notice of Electronic Filing:


Roger I. Roots, Esq.
rogerroots@msn.com
ROOTS LAW
270 Bellevue Ave. #1016
Newport, RI 02840

James L. Buchal, Esq.
Murphy & Buchal LLP
3425 SE Yamhill Street, Suite 100
Portland, OR 97214
P:(503)227-1011

James S. Smith
Department of Justice
Trial Division
100 SW Market St
Portland, OR 97201
james.s.smith@doj.state.or.us

Thomas F. Armosino
Frohnmayer Deatherage, et al.
2592 E. Barnett Road
Medford, OR 97501
Email: armosino@fdfirm.com

Molly R. Silver
Frohnmayer Deatherage, et al.
2592 E. Barnett Road
Medford, OR 97501
Email: silver@fdfirm.com



                                                s/ Leah Brownlee Taylor

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Leah Brownlee Taylor




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